Case 1:12-cv-02845-RPM-MEH Document 24 Filed 04/04/13 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                        COURT FILE NO.: 1:12-cv-02845-RPM-MEH

  Marisa Baxter,
         Plaintiff

  v.

  Citibank, N.A.,
         Defendant
  ______________________________________________________________________________

                  NOTICE OF DISMISSAL WITH PREJUDICE
  ________________________________________________________________________

          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

  gives notice to the Clerk of the United States District Court for the District of Colorado

  that this case is voluntarily dismissed with prejudice.



                                             Respectfully submitted,


  April 4, 2013                              /s/ Tracey N. Tiedman
                                             Tracey N. Tiedman
                                             Weisberg & Meyers LLC
                                             5025 N. Central Ave., #602
                                             Phoenix, AZ 85012
                                             Telephone: (602) 445 9819
                                             Facsimile: (866) 565 1327
                                             TTiedman@AttorneysForConsumers.com
Case 1:12-cv-02845-RPM-MEH Document 24 Filed 04/04/13 USDC Colorado Page 2 of 2




                               CERTIFICATE OF SERVICE

         I certify that on April 4, 2013, I electronically filed the foregoing document with

  the clerk of the U.S. District Court of Colorado, using the electronic case filing system of

  the court.



  By: s/ Lydia Bultemeyer
      Lydia Bultemeyer
